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5
     Attorneys for HUI HUA
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8                            IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                                No. 2:14-cr-00220-KJM
11    UNITED STATES OF AMERICA
                                            )   [PROPOSED] ORDER TO RETURN
12                             Plaintiff,
                                                PASSPORT
13          v.

14
      HUI HUA
15                           Defendant,

16

17
                 Ms. Hui Hua was released pursuant to a $100,000.00 unsecured bond. On
18
     September 2, 2014, Ms. Hua deposited her passport, Docket entry No. 26 with this
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     Court as a condition of her release on bond. On November 28, 2016, Ms. Hua plead
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     guilty to Count 1 of the First Superseding Information. On November 28, 2016, the
21
     Court sentenced Ms. Hua to a probation term of 364 days. Ms. Hua has successfully
22
     completed her term.
23
             Ms. Hua is not on a probation or supervised release. She has satisfied her
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     obligations to the Court.    Ms. Hua requests that this Court Ordder the release of
25
     passport
26
     //
27
     //
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     //
     ///
                                                    1
                            Case 2:14-cr-00220-KJM Document 399 Filed 12/18/17 Page 2 of 2


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               2
                              ORDER
               3
                              It is hereby ORDERED that the Clerk of Court or his/her designee release Ms.
               4
                      Hua’s passport to the Law Offices of Wing & Parisi, 917 G Street, Sacramento, CA
               5
                      95814, to deliver the passport to Ms. HUI HUA.
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               7      Dated: December 18, 2017
               8                                                _____________________________________
                                                                CAROLYN K. DELANEY
               9                                                UNITED STATES MAGISTRATE JUDGE

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LAW OFFICES OF
CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
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